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            In the United States Court of Federal Claims
                                      No. 10-580 L
                              (E-Filed: December 19, 2014)

________________________________________
                                         )
                                         )
WOLFSEN LAND & CATTLE COMPANY,           )
ET AL.,                                  )
                                         )
                  Plaintiff,             )
v.                                       )
                                         )
THE UNITED STATES OF AMERICA,            )
                                         )
                  Defendant.             )
                                         )
________________________________________ )

                                         ORDER

       Before the court is the parties’ Agreement for Settlement and Dismissal of Suit,
ECF No. 44, filed December 18, 2014. The parties “agree that this case should be
dismissed, each party to bear its own attorneys’ fees and costs.” Id. at 1. Further to the
representations made in the parties’ filing:

       Claim Nos. 3, 4, 6 are DISMISSED WITH PREJUDICE.

       Claim Nos. 1, 2, 5, 7–11 are DISMISSED WITHOUT PREJUDICE.

       The Clerk of Court is directed to enter judgment accordingly. No costs.


       IT IS SO ORDERED.
                                                 s/ Patricia E. Campbell-Smith
                                                 PATRICIA E. CAMPBELL-SMITH
                                                 Chief Judge
